Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 1 of 38 PageID# 10850



                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF VIRGINIA
                                  Alexandria Division


 BMG RIGHTS MANAGEMENT                )
 (US) LLC, and ROUND HILL             )
 MUSIC LP                             )
                                      )
             Plaintiffs,              )
                                      )
       v.                             )    Case No. 1:14-cv-1611 (LO/JFA)
                                      )
 COX COMMUNICATIONS, INC. and         )    REDACTED PUBLIC VERSION
 COXCOM, LLC                          )
                                      )
             Defendants.              )
                                      )



                PLAINTIFFS’ MEMORANDUM IN OPPOSITION TO
               DEFENDANTS’ MOTION FOR SUMMARY JUDGMENT




                                           STEPTOE & JOHNSON, LLP
                                           1330 Connecticut Ave, NW
                                           Washington, DC 20036
                                           Tel.: (202) 429-3000
                                           Fax: (202) 429-3902

                                           HAUSFELD, LLP
                                           1700 K Street, NW
                                           Washington, DC 20006
                                           Tel: (202) 540-7157
                                           Fax: (202) 540-7201

                                           CRAIN LAW GROUP, LLC
                                           The Bottleworks
                                           297 Prince Avenue, Suite 24
                                           Athens, Georgia 30601
                                           Tel. (706) 548-0970
       October 13, 2015                    Fax: (706) 369-8869
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 2 of 38 PageID# 10851



                                                    TABLE OF CONTENTS

 INTRODUCTION ...........................................................................................................................1
 STATEMENT OF ADDITIONAL MATERIAL FACTS (“SAF”) ................................................2
           A.         The BitTorrent Protocol ...........................................................................................2
           B.         Cox Subscribers Use BitTorrent to Infringe Plaintiffs’ Copyrights ........................3
           C.         Cox Deletes or Blocks Rightscorp’s Notices of Infringement in Order to
                      Avoid Learning of Specific Infringements on Its System .......................................5
           D.         Cox Has the Power to Terminate Known Infringers but Chooses Instead to
                      Preserve its Revenue Stream ....................................................................................7
 ARGUMENT ...................................................................................................................................9
 I.        COX SUBSCRIBERS HAVE INFRINGED PLAINTIFFS’ COPYRIGHTS ....................9
           A.         Plaintiffs Have Caught Thousands of Cox Subscribers Infringing their
                      Copyrights over the Cox Network ...........................................................................9
           B.         Cox Subscribers Have Infringed Plaintiffs’ Copyrights by Making the
                      Works Available Without Authorization ...............................................................11
           C.         Cox Subscribers Infringed Plaintiffs Copyrights by Actually
                      Disseminating the Asserted Works ........................................................................13
           D.         The Copyright Act Protects Digital Material Objects as Well as Physical
                      Material Objects .....................................................................................................14
 II.       COX IS LIABLE AS A CONTRIBUTORY COPYRIGHT INFRINGER .......................15
           A.         Knowledge of and Material Contribution to Copyright Infringement
                      Makes a Defendant Liable for that Infringement ...................................................15
           B.         Cox Knew of and Was Willfully Blind to its Subscribers’ Infringement of
                      Plaintiffs’ Copyrights .............................................................................................17
                      1.         Cox Knew or Had Reason to Know of the Infringement...........................17
                      2.         Cox Was Willfully Blind to the Infringement of Plaintiffs’ Works ..........20
           C.         Cox Materially Contributed to Its Subscribers’ Infringement of Plaintiffs’
                      Copyrights ..............................................................................................................22
 III.      COX IS VICARIOUSLY LIABLE FOR ITS SUBSCRIBERS’
           INFRINGEMENT OF PLAINTIFFS’ COPYRIGHTS .....................................................22
           A.         Cox Has the Ability to Supervise the Infringing Activity .....................................23
           B.         Cox Directly Benefited from its Subscribers’ Use of BitTorrent to Infringe ........25
 IV.       PLAINTIFFS DO NOT HAVE UNCLEAN HANDS AND DID NOT FAIL TO
           MITIGATE THEIR DAMAGES .......................................................................................28
 CONCLUSION ..............................................................................................................................30
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 3 of 38 PageID# 10852



                                              TABLE OF AUTHORITIES

 Cases                                                                                                                     Page(s)

 A&M Records v. Napster,
   239 F.3d 1004 (9th Cir. 2001) ......................................................................................... passim

 Arista Records v. Greubel,
     453 F. Supp. 2d 961 (N.D. Tex. 2006) ....................................................................................12

 Arista Records v. Lime Group,
     784 F. Supp. 2d 398 (S.D.N.Y. 2011)..........................................................................10, 23, 28

 Arista Records v. Lime Group,
     No. 06 CV 5936, 2011 WL 1641978 (S.D.N.Y. Apr. 29, 2011) .......................................14, 29

 Arista Records v. Usenet.com,
     633 F. Supp. 2d 124 (S.D.N.Y. 2009).............................................................................. passim

 Atlantic Recording Corp. v. Howell,
     554 F. Supp. 2d 976 (D. Ariz. 2008) .......................................................................................14

 Capitol Records v Escape Media Group,
    2015 WL 1402049 (S.D.N.Y. Mar. 25, 2015) ................................................................. passim

 Capitol Records v. MP3Tunes,
    48 F. Supp. 3d 703 (S.D.N.Y. 2014)........................................................................................22

 Capitol Records v. MP3tunes,
    No. 07 Civ. 9931, 2013 WL 1987225 (S.D.N.Y. May 14, 2013) ............................................19

 Columbia Pictures Industries v. Fung,
    710 F.3d 1020 (9th Cir. 2013) ...........................................................................................10, 14

 Corbis Corp. v. Amazon,
    351 F. Supp. 2d 1090 (W.D. Wash. 2004) ...............................................................................17

 Costar Group v. Loopnet,
    164 F. Supp. 2d 688 (D. Md. 2001) .........................................................................................16

 CoStar Group v. LoopNet,
    373 F.3d 544 (4th Cir. 2004) ...................................................................................................15

 Diversey v. Schmidly,
    738 F.3d 1196 (10th Cir. 2013) ...............................................................................................11

 Ellison v. Robertson,
     357 F.3d 1072 (9th Cir. 2004) ...............................................................................17, 18, 22, 25



                                                                - ii -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 4 of 38 PageID# 10853



 EMI April Music v. White,
   618 F. Supp. 2d 497 (E.D. Va. 2009) ......................................................................................25

 Fonovisa v. Cherry Auction,
    76 F.3d 259 (9th Cir. 1996) ............................................................................................. passim

 Gershwin Publishing v. Columbia Artists Management,
    443 F.2d 1159 (2d Cir. 1971).......................................................................................15, 16, 17

 Global-Tech Appliances v. SEB,
    563 U.S. 754 (2011) .................................................................................................................20

 Hotaling v. Church of Christ of Latter-Day Saints,
    118 F.3d 199 (4th Cir. 1997) .............................................................................................11, 12

 Humphreys & Partners Architects v. Lessard Design,
   43 F. Supp. 3d 644, 663 (E.D. Va. 2014) ................................................................................15

 In re Aimster Copyright Litigation,
     334 F.3d 643 (7th Cir. 2003) .................................................................................10, 16, 19, 20

 In re Uwimana,
     274 F.3d 806 (4th Cir. 2001) ...................................................................................................29

 JTH Tax v. H&R Block Eastern Tax Services,
    128 F. Supp. 2d 926 (E.D. Va. 2001) ......................................................................................29

 London-Sire Records v. Doe I,
    542 F. Supp. 2d 153 (D. Mass. 2008) ......................................................................................14

 MGM v. Grokster,
   545 U.S. 913 (2005) ...............................................................................................10, 15, 16, 17

 Nelson-Salabes v. Morningside Development,
    284 F.3d 505 (4th Cir. 2002) ...................................................................................................22

 Perfect 10 v. Amazon,
    508 F.3d 1146 (9th Cir. 2007) ...............................................................................16, 17, 22, 23

 Perfect 10 v. Cybernet Ventures,
    213 F. Supp. 2d 1146 (C.D. Cal. 2002) ...................................................................................17

 Perfect 10 v. Visa International Service Association,
    494 F.3d 788 (9th Cir. 2007) ...................................................................................................24

 Positive Black Talk v. Cash Money Records,
    394 F.3d 357 (5th Cir. 2004) ...................................................................................................30




                                                                  - iii -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 5 of 38 PageID# 10854



 Sega Enterprises v. MAPHIA,
    857 F. Supp. 679 (N.D. Cal. 1994) ..........................................................................................10

 Seoul Broadcasting System International v. Ro,
    No. 1:09CV433, 2011 WL 3207024 (E.D. Va. 2011) .............................................................20

 SNC-Lavalin America v. Alliant Techsystems,
   858 F. Supp. 2d 620 (W.D. Va. 2012) .....................................................................................30

 Sony BMG Music Entertainment v. Doe,
    No. 5:08-CV-109-H, 2009 WL 5252606 (E.D.N.C. Oct. 21, 2009)........................................12

 Tempo Music v. Myers,
    407 F.2d 503 (4th Cir 1969) ....................................................................................................29

 Timpco v. Implementation Services,
    No. 1:08-cv-1481, 2010 WL 3925117 (S.D. Ind. Sept. 29, 2010)...........................................11

 Universal Studios Production v. Bigwood,
    441 F. Supp. 2d 185 (D. Me. 2006) .........................................................................................11

 Viacom International v. YouTube,
    676 F.3d 19 (2d Cir. 2012).................................................................................................20, 25

 Warner Bros. Records v. Payne,
   No. W-06-CA-051, 2006 WL 2844415 (W.D. Tex. Jul. 17, 2006) .........................................12

 WorldCom v. Boyne,
   68 Fed. App’x 447 (4th Cir. 2003) ..........................................................................................29

 STATUTES

 17 U.S.C. § 101 ..............................................................................................................................15

 17 U.S.C. § 106 ........................................................................................................................11, 13

 17 U.S.C. § 506 ..............................................................................................................................12

 BOOKS AND ARTICLES

 2 Nimmer on Copyright § 8.11 (2015) .....................................................................................12, 15

 3 Nimmer on Copyright § 12.04 (2015) .........................................................................................16

 Restatement (Third) of Foreign Relations § 114 (1987) ................................................................13

 Peter S. Menell, In Search of Copyright’s Lost Ark: Interpreting the Right to Distribute in
    the Internet Age
    59 Copyright Society USA 1, 67 (2011)..................................................................................12


                                                                     - iv -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 6 of 38 PageID# 10855



                               FACT CORRELATION TABLE

 The following table correlates the paragraph numbers of Cox’s “undisputed” facts with the
 paragraphs in which they are denied or admitted in Statement of Additional Material Facts in this
 Opposition.

   Cox “Undisputed” Fact           Responsive Fact Paragraph            Admitted or Denied
     (Dkt No. 346 at 4-7)            in Plaintiffs’ Opposition
 Cox Fact 1                       5                                Admitted in part
 Cox Fact 2                       9-11                             Denied
 Cox Fact 3                       9-11                             Denied
 Cox Fact 4                       9-11                             Denied
 Cox Fact 5                       9-11                             Denied
 Cox Fact 6                       9-11                             Denied
 Cox Fact 7                       10                               Denied
 Cox Fact 8                       15                               Admitted for this motion only
 Cox Fact 9                       15-16                            Denied
 Cox Fact 10                      18                               Denied in Part
 Cox Fact 11                      18                               Admitted
 Cox Fact 12                      20                               Denied
 Cox Fact 13                      15 n.3                           Denied
 Cox Fact 14                      15 n.3                           Admitted
 Cox Fact 15                      16                               Denied
 Cox Fact 16                      15                               Denied
 Cox Fact 17                      3-4                              Admitted
 Cox Fact 18                      3-4                              Admitted
 Cox Fact 19                      6                                Admitted
 Cox Fact 20                      7 n.2                            Denied
 Cox Fact 21                      7-8                              Denied
 Cox Fact 22                      8                                Admitted
 Cox Fact 23                      15                               Denied
 Cox Fact 24                      15                               Denied
 Cox Fact 25                      23                               Denied
 Cox Fact 26                      25-28                            Denied
 Cox Fact 27                      23                               Denied
 Cox Fact 28                      8                                Admitted
 Cox Fact 29                      8                                Admitted
 Cox Fact 30                      5 n.1                            Admitted




                                               -v-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 7 of 38 PageID# 10856



                                         INTRODUCTION

        Cox is liable for its decision to permit and to profit from its subscribers’ rampant use of

 its network to steal Plaintiffs’ copyrighted music through an online sharing protocol known as

 BitTorrent. Over ten percent of Cox subscribers admit that the opportunity to obtain free music

 via BitTorrent is a reason that they subscribe to Cox. Because Cox

           it turned a blind eye to their use of BitTorrent to infringe. Cox deleted millions of

 notices of infringement of the works at issue and continued to allow its infringing subscribers to

 share Plaintiffs’ musical compositions over its network. Cox had the power to terminate

 subscribers for copyright infringement. But Cox kept infringing subscribers online so that it

 could avoid                   That makes Cox liable for contributory and vicarious infringement.

        In a desperate bid to avoid liability, Cox makes one baseless argument after another. Cox

 denies that there is evidence of uploads or downloads by users of its network, though Plaintiffs’

 downloaded over 100,000 copies of the infringed works from those same users and though

 multiple Cox subscribers have been caught sharing the same unique torrents. Cox denies that its

 subscribers infringe any copyright when they make Plaintiffs’ works available to the public, in

 the face of statute, treaty, and controlling Fourth Circuit precedent to the contrary. Cox

 complains that Plaintiffs have not proven infringement against specific individuals, though the

 point of secondary liability is to relieve copyright plaintiffs of the need to pursue thousands of

 cases against individual infringers. And Cox asserts that infringement must be through a

 physical medium, though a host of decisions apply the Copyright Act to online file sharing.

        As to secondary liability, Cox denies that it knew of or was willfully blind to specific

 infringements, though it deleted every single notice that Plaintiffs sent regarding infringement of

 the works at issue in this litigation. Cox denies that it supervises its subscribers, though it tracks
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 8 of 38 PageID# 10857



 their (partial) history of infringement through a graduated response system and reserves the right

 to terminate repeat infringers. And Cox denies that it obtains a financial benefit from infringing

 subscribers though survey evidence shows that highly profitable customers are drawn to Cox by

 the opportunity to infringe and though Cox’s internal documents reflect that whether infringing

 subscribers                                         is                              of the decision

 to allow them to remain online. Cox’s motion for summary judgment should be denied.

               STATEMENT OF ADDITIONAL MATERIAL FACTS (“SAF”)

        A.      The BitTorrent Protocol

        1.      BitTorrent is a file sharing protocol that has become the major channel for theft of

 copyrighted music and film. One recent study found that 99.97% of non-pornographic content

 on BitTorrent was infringing. Declaration of Michael J. Allan (“Allan Decl.”) Ex. 29 at 30.

        2.      BitTorrent works by bundling one or more music, video, or other files into

 “torrents” that can be shared using a BitTorrent software program or “client.” Each torrent has

 its own unique “hash” value that identifies the torrent and serves as a digital “fingerprint.” See

 October 12, 2015 Declaration of Barbara Frederiksen-Cross (“BFC Decl.”) Ex. 2 ¶¶ 30-40.

        3.      A torrent consists of the underlying music or video files and an associated

 *.torrent file, containing the metadata that allows the specific content files to be shared reliably.

 This metadata includes information that (1) identifies the constituent music or video files;

 (2) specifies one or more third-party servers or “trackers” that manage connections among the

 individual users or “peers” sharing the torrent; and (3) specifies the torrent’s own unique

 identifying “hash” value. Id. ¶¶ 40-42.

        4.      Once a torrent has been created, the *.torrent file must be uploaded to a torrent

 index website such as the Pirate Bay or Kickass Torrents. From those websites, any internet user




                                                  -2-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 9 of 38 PageID# 10858



 can search for and download the *.torrent file. The *.torrent file opens in a BitTorrent software

 program or “client” that uses the metadata to contact the “tracker,” seek out other “peers,” and

 join the “swarm” of peers sharing the file. The BitTorrent client will begin downloading and

 uploading the content files identified in the *.torrent file from and to many other peers

 simultaneously. Peers in a swarm facilitate this process by telling each other what pieces of the

 torrent they have and what pieces they still need. Once a peer has finished downloading, he

 continues to upload the torrent to other users as a “seeder” of the torrent until he closes his

 BitTorrent client or otherwise stops sharing. Cox facts 17 and 18 are admitted. Id. ¶¶ 40-42.

        B.      Cox Subscribers Use BitTorrent to Infringe Plaintiffs’ Copyrights

        5.      Plaintiffs’ copyrighted musical works are widely shared without authorization

 using BitTorrent. Plaintiffs hired Rightscorp to identify instances of infringement, to send out

 notices of that infringement to individual infringers and to internet service providers, and to

 negotiate settlements with infringing users. Cox fact 1 is admitted in part.1 See Allan Decl.

 Ex. 3 (Gillis Tr.) at 83:11-84:16 & Ex. 4 (Hauprich Tr.) at 290:21-291:14.

        6.      Rightscorp’s software searches torrent index websites for *.torrent files that

 appear to contain Plaintiffs’ copyrighted works and then verifies that the torrent actually contains

 those works. For those torrents that contain Plaintiffs’ copyrighted works, Rightscorp’s software

 contacts the tracker to find peers offering the torrent (and the copyrighted works within).

 Rightscorp’s software then contacts the peer to determine if it has 100% of the torrent payload,

 including all of the music files contained within. If verified, Rightscorp records the date and

 time, the IP address of the peer, the port on the peer’s computer through which the connection


        1
          Cox fact 30 is admitted. Many indexing websites and trackers are located abroad and
 do not comply with requests to remove infringing material. See, e.g., http://goo.gl/OowoHQ.




                                                  -3-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 10 of 38 PageID# 10859



  was made, the *.torrent file’s unique hash value, and the identity of the copyrighted works

  infringed. See BFC Decl. Ex. 2 ¶¶ 44-57. Cox fact 19 is admitted.

         7.      When Rightscorp records a BitTorrent peer offering 100% of a torrent containing

  copies of Plaintiffs’ copyrighted works, Rightscorp sends a notice to the peer’s ISP that the peer

  is infringing Plaintiffs’ copyrights and provides the date, time, IP address, port, and work

  infringed. October 13, 2015 Declaration of Gregory Boswell (“Boswell Decl.”) ¶¶ 8-9, 16.2

         8.      In many instances in which Rightscorp observed a BitTorrent peer offering 100%

  of a torrent including copies of Plaintiffs’ copyrighted works, Rightscorp also downloaded full

  copies of the infringing music files contained in the torrent from that peer. See BFC Decl. Ex. 2

  ¶¶ 63-64; Boswell Decl. ¶ 11. Where it does not download the full files, Rightscorp confirms the

  peer has the complete torrent by communicating with the peer using the BitTorrent protocol.

  Boswell Decl. ¶ 16. Therefore, Cox fact 21 is denied. Cox facts 22 and 28-29 are admitted.

         9.      Rightscorp’s records establish widespread infringement of Plaintiffs’ works by

  Cox subscribers over the Cox network. Up to the filing of this suit, Rightscorp identified

  roughly 2.5 million instances in which Cox subscribers offered one of the works at issue in this

  litigation over BitTorrent using their Cox internet connection. October 13, 2015 Declaration of

  Robert Bardwell (“Bardwell Decl.”) Ex. 1 at 5.

         10.     In addition, Rightscorp downloaded more than 100,000 copies of infringed works

  from Cox subscribers over BitTorrent through their Cox internet connection. See Allan Decl.

  Ex. 45. In each instance, a BitTorrent user on Cox’s network initiated the transmission of the


         2
           For a period of time after this suit was filed, Rightscorp recorded infringements and
  issued notices in instances where the peer offered between 10 and 100 percent of the torrent.
  During the period in which the infringements at issue in this litigation occurred, Rightscorp only
  acted where the peer had 100% of the torrent. Boswell Decl. ¶¶ 15-16. Cox fact 20 is denied.




                                                  -4-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 11 of 38 PageID# 10860



  infringed work to Rightscorp in response to Rightscorp’s request for the work, just as it would do

  in response to any other request from a peer. Boswell Decl. ¶ 12. Cox fact 7 is denied.

         11.     Rightscorp identified Cox subscribers sharing torrents that contain infringing files

  after it found the corresponding *.torrent files on torrent index sites. BFC Decl. Ex. 2 ¶¶ 56-58.

  Also, Rightscorp identified multiple Cox subscribers sharing the same infringing torrents bearing

  the same unique digital fingerprint. Boswell Decl. ¶ 10 & Ex. 1. Because each unique torrent

  with its unique hash value can have been created only once, SAF 2, this is evidence that many

  Cox users downloaded infringing torrents. Based on paragraphs 9-11, Cox facts 2-6 are denied.

         12.     A significant percentage of these customers are drawn to Cox’s service by the

  opportunity to infringe. Plaintiffs’ expert Stephen Nowlis conducted a survey, which found that

  16% of Cox internet subscribers “download or upload free digital music through [BitTorrent]

  sites such as ThePirateBay, KickAssTorrents, Torrentz, etc.” Of those 16%, over 70% agreed

  that the ability to do so was a reason that they subscribe to Cox. This is over     of Cox’s

  subscriber base. October 13, 2015 Declaration of Stephen Nowlis Ex. 2 at 4 n.2, 12.

         13.     In online discussion boards, Cox subscribers regularly describe Cox’s tolerance of

  infringement as a reason to subscribe to Cox. Allan Decl. Exs. 60, 62-64, 66.

         C.      Cox Deletes or Blocks Rightscorp’s Notices of Infringement in Order to
                 Avoid Learning of Specific Infringements on Its System

         14.     Cox knew that BitTorrent accounted for as much as        % of the upstream data

  transmitted over its network in some markets. Allan Decl. Ex. 46. Cox knew that BitTorrent

  was used almost exclusively to infringe. As Cox’s manager of abuse operations Jason Zabek put

  it,                                                                    Allan Decl. Ex 42; see also

  SAF 1. And Cox knew that Rightscorp was sending notices of Cox subscribers’ infringement of

  its clients’ copyrights. Allan Decl. Exs. 14, 17, 18, 31.



                                                  -5-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 12 of 38 PageID# 10861



         15.     Rightscorp sent Cox 2.5 million notices of specific instances of infringement of

  the works at issue in this litigation by Cox subscribers using Cox’s network. Bardwell Decl. Ex.

  1 at 5. Each of those notices established that an infringing work had been obtained by a Cox user

  and was being offered via BitTorrent at the Cox IP address stated. Each notice identified the

  date, time, port, and IP address of the infringement as well as the title of the musical composition

  infringed. Allan Decl. Exs. 15, 16, 22, 23, 47, 48; see also Ex. 1 (Zabek Tr.) at 317:20-321:19;

  Ex. 2 (Cadenhead Tr.) at 196:8-16. Cox facts 9, 16, 23, and 24 are denied. Cox fact 8 is

  admitted for purposes of this motion only.3

         16.     In addition, Rightscorp made all of the information from its notices available to

  Cox through a “dashboard” that could be accessed online. That dashboard allowed Cox to search

  the notices and infringement records or to sort the information by IP address, infringed work, or

  other category of data. See Allan Decl. Exs. 30, 31, 32, 34, 35 38. The dashboard was

  from a Cox IP address. See Allan Decl. Ex. 33. Cox facts 9 and 15 are denied.

         17.     Nonetheless, Cox blacklisted Rightscorp and blocked its notices to avoid learning

  of individual infringing subscribers. See Plaintiffs’ SJ Mem. at 7-8 (Dkt. No. 324). As Cox’s

  abuse manager stated in an email chain regarding

                                                  Allan Decl. Ex. 41 (ellipsis in original). Cox

  decided to                                         Allan Decl. Ex. 1 (Zabek Tr.) at 106:11-107:2.

         18.     Cox asserted that the settlement offers of $20 per infringement in Rightscorp’s

  notices fall outside “the spirit” of the DMCA. But Cox’s counsel was unable to identify any


         3
           Rightscorp requested that Cox suspend Internet service of account holders who were
  repeat infringers. Cox blacklisted Rightscorp and did not forward any Rightscorp notices to its
  subscribers. Thus, Rightscorp never communicated with or threatened any Cox subscribers.
  Cox fact 13 is denied. Cox fact 14 is admitted.




                                                  -6-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 13 of 38 PageID# 10862



  language in the DMCA to this effect. Allan Decl. Ex. 2 (Cadenhead Tr.) at 118:4-124:20. Cox

  fact 10 is denied in part. Cox fact 11 is admitted.

         19.     Cox’s settlement offer rule was only one of several filtering mechanisms that it

  used to drastically curtail the number of infringement notices that it accepted. For example, Cox

  limited each copyright infringement complainant to                 notices per day. And Cox only

  acts upon                                                  further infractions                  are

  not counted as infringements under Cox’s repeat infringer policy. See Allan Decl. Ex. 24 at 13,

  Ex. 52 (Sikes Tr.) at 154:16-156:5, Ex. 53 at 7, Ex. 54, Ex. 65; Plaintiffs’ SJ Mem. at 6, 9.

         20.     Based on these limitations and others, the vast majority of Rightscorp’s notices

  would have gone unheeded whether or not they contained settlement offers. For example,

  Rightscorp sent Cox 9,270,458 infringement notices in the 821 days between September 2012

  and November 2014. Boswell Decl. ¶ 9. Had Rightscorp’s notices omitted the settlement offers,

  Cox would still have ignored more than 98 percent of them. Cox fact 12 is denied.

         D.      Cox Has the Power to Terminate Known Infringers but Chooses Instead to
                 Preserve its Revenue Stream

         21.     Cox does not want to be notified of infringements because it does not want to

  have to terminate known, repeat infringers.

  and as Cox’s abuse manager explained,

  Allan Decl. Exs. 9, 13, & 19.

         22.     Cox concedes that it has the right and ability to terminate customers for copyright

  infringement and claims to do so occasionally in an effort to preserve a DMCA safe harbor

  defense to secondary liability for copyright infringement. Allan Decl. Ex. 6; Ex. 24 at 25-27.

         23.     Cox even tracks those infringement notices it does accept and monitors its

  subscribers’ record of infringement through a “graduated response” process. Cox sends multiple



                                                  -7-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 14 of 38 PageID# 10863



  warnings, then briefly interrupts the subscriber’s access to the internet until the subscriber clicks

  a web link, and then has the subscriber speak with its technical operations and abuse staff. Allan

  Decl. Ex. 24 at 9-10, 13; Ex. 11 at 2, 10-13. Therefore, Cox facts 25 and 27 are denied.

         24.     During this process, Cox seeks to



                                                                          Allan Decl. Ex. 1 (Zabek

  Tr.) at 230:3-16.

         25.     Cox charges monthly subscription fees to these customers. High speed internet

  customers pay Cox an average of         a month, not including fees for other services such as cable

  or telephone. Allan Decl. Ex. 43. Because so many of Cox’s costs are fixed, its profit margins

  on every additional subscriber are extremely high. Cox’s reports a

  for high speed internet customers. Id. Cox fact 26 is denied.

         26.     To preserve this revenue, Cox does not terminate subscribers that it knows are

  guilty of infringement. By minimizing the number of infringement notices it accepts and on

  which it takes action, Cox reduces the likelihood that its infringing customers will advance

  through the graduated response and be subject to termination. See Allan Decl. Ex. 5

  (Vredenburg Tr.) at 296:3-333:22; Ex 21. And even if a customer advances to the “termination”

  stage, Cox’s policy is to avoid terminating repeat infringers. See Plaintiffs’ SJ Mem. at 10-16.

  For example, Cox’s abuse manager wrote,

                                                        Allan Decl. Ex. 20.

         27.     Because                                                          Cox



                               Allan Decl. Ex. 19 at 1; Ex. 7 at 2.




                                                  -8-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 15 of 38 PageID# 10864



         28.     Even where Cox has purported to terminate customers for copyright infringement,

  it has reactivated them within a day or two so that it would not lose the revenue. Cox



                                                                          Allan Decl. Ex. 12; see

  also Ex. 13 (Cox

  in order to                                                                 Upon reactivation, Cox

  gives the customer a “clean slate” and

  Allan Decl. Ex. 55; Plaintiffs’ SJ Mem. at 11-12.

                                            ARGUMENT

  I.     COX SUBSCRIBERS HAVE INFRINGED PLAINTIFFS’ COPYRIGHTS

         A.      Plaintiffs Have Caught Thousands of Cox Subscribers Infringing their
                 Copyrights over the Cox Network

         Plaintiffs have overwhelming evidence that Cox subscribers repeatedly use BitTorrent to

  infringe Plaintiffs’ copyrights over the Cox network. Rightscorp’s software identifies torrents

  containing files that infringe Plaintiffs’ copyrights and searches BitTorrent for users who are

  sharing those torrents. When it detects a user who is sharing infringing material, Rightscorp

  records the IP address of the infringer, the port number through which the infringer is sharing the

  file, the date and time of infringement, and the work infringed. Rightscorp identified and

  memorialized 2.5 million instances in which users on Cox IP addresses used the Cox network to

  share infringing files over BitTorrent. In addition, Rightscorp actually downloaded 100,000 full

  copies of files infringing almost all of the works at issue in this case. SAF 6-11.

         Cox contends that the Rightscorp data is inadequate because it identifies infringers by IP

  address and does not identify the individual infringer by name. Cox Br. at 9. Of course, only

  Cox knows the names of the subscribers to whom it assigned each IP address, and Cox has



                                                  -9-
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 16 of 38 PageID# 10865



  destroyed this information. Dkt Nos. 340 at 7-8, 381 at 1. Moreover, a plaintiff in a secondary

  liability case against an internet service provider need only show that “users of [the defendant’s]

  services” have engaged in direct infringement, not each infringer’s specific identity. Columbia

  Pictures Industries v. Fung, 710 F.3d 1020, 1034 (9th Cir. 2013) (emphasis added); In re Aimster

  Copyright Litigation, 334 F.3d 643, 646 (7th Cir. 2003) (finding secondary liability where direct

  infringers could conceal their true identity); Arista Records v. Lime Group, 784 F. Supp. 2d 398,

  423-24 (S.D.N.Y. 2011) (evidence of downloads from “LimeWire users” established direct

  infringement); Sega Enterprises v. MAPHIA, 857 F. Supp. 679, 686-87 (N.D. Cal. 1994) (direct

  infringement where “unknown users” uploaded Sega games).4

         Nor are plaintiffs required to file lawsuits or obtain judgments against individual users.

  Cox Br. at 9-10. The very reason for secondary liability is that “chasing individual consumers is

  time consuming and is a teaspoon solution to an ocean problem.” Aimster, 334 F.3d at 645

  (citation omitted). “Recognizing the impracticability or futility of a copyright owner’s suing a

  multitude of individual infringers, . . . the law allows a copyright holder to sue a contributor to

  the infringement instead.” Id.; see also MGM v. Grokster, 545 U.S. 913, 930-31 (2005) (“When

  a widely shared service or product is used to commit infringement, it may be impossible to

  enforce rights in the protected work effectively against all direct infringers, the only practical

  alternative being . . . secondary liability on a theory of contributory or vicarious infringement.”).5


         4
            Cox relies on direct infringement cases against individual “Doe” defendants. See Cox
  Br. at 9-10. Of course direct infringement suits against individual defendants require specific
  identification, but that is irrelevant to a secondary liability suit against a service provider.
         5
           Cox speculates that infringement may have been committed by non-subscribers visiting
  a subscriber or poaching an unsecured wireless network. But Cox’s own abuse manager
  dismissed the idea of widespread infringement by non-subscribers.
                                                     Allan Decl. Ex. 27. Instead, he saw it as a
  convenient legal smokescreen:



                                                  - 10 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 17 of 38 PageID# 10866



          B.      Cox Subscribers Have Infringed Plaintiffs’ Copyrights by Making the Works
                  Available Without Authorization

          The Rightscorp data show that Cox subscribers made thousands of Plaintiffs’ copyrighted

  works available to the world for copying millions of times without authorization. SAF 5-11.

  This violated the Plaintiffs’ exclusive right of distribution and constituted copyright infringement

  under controlling Fourth Circuit precedent.6

          In Hotaling v. Church of Christ of Latter-Day Saints, 118 F.3d 199, 203 (4th Cir. 1997),

  the Fourth Circuit held that “mak[ing] the work available to the . . . public” infringes the

  copyright holder’s exclusive distribution right. The Court rejected the defendant’s argument that

  a violation of the distribution right requires that “the evidence would need to show that a member

  of the public accepted such an offer” to distribute the work. Id.; see also Diversey v. Schmidly,

  738 F.3d 1196, 1202 (10th Cir. 2013) (unauthorized making available a copyrighted work

  violated author’s Section 106(3) right to distribute); Timpco v. Implementation Services, No.

  1:08-cv-1481, 2010 WL 3925117, at *3 (S.D. Ind. Sept. 29, 2010) (“merely making copyrighted

  material available to others is an act of copyright infringement”).

          Following Hotaling, courts have held that “using [an online file sharing system] to make

  copies . . . available to thousands of people over the internet . . . violate[s] [the] exclusive right to

  distribute.” Universal Studios Production v. Bigwood, 441 F. Supp. 2d 185, 190 (D. Me. 2006);


                                   Allan Decl. Ex. 49. And whether by subscribers or otherwise,
  the direct infringement still occurred over the Cox network.
          6
             Cox falsely claims that many of the 2.5 million instances of infringement involve
  situations where the subscriber had as little as ten percent of the infringing file. Cox Br. at 14-
  15. On the contrary, in every single one of those instances, the infringer made the full file
  available. SAF 7. Rightscorp did not begin logging infringements involving less than the full
  file until after this litigation was filed. Id. None of those are at issue in this case. Nor can Cox’s
  conclusory assertions regarding the reliability of Rightscorp’s software, Cox Br. at 15, justify
  summary judgment in the face of competent testimony to the contrary. BFC Decl. Ex. 2 ¶ 135.



                                                   - 11 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 18 of 38 PageID# 10867



  accord Arista Records v. Greubel, 453 F. Supp. 2d 961, 970-971 (N.D. Tex. 2006) (invoking the

  “seminal” Hotaling decision); Warner Bros. Records v. Payne, No. W-06-CA-051, 2006 WL

  2844415, at *3 (W.D. Tex. Jul. 17, 2006). And courts in this Circuit recognize, in the context of

  online file sharing, that “the Fourth Circuit has interpreted distribution to include not only actual

  dissemination, but also making a protected work available to the public.” Sony BMG Music

  Entertainment v. Doe, No. 5:08-CV-109-H, 2009 WL 5252606, at *4 (E.D.N.C. Oct. 21, 2009).7

          This interpretation of “distribution” is consistent with other sections of the Copyright

  Act, which expressly state that “the distribution of a work” may be accomplished by “making it

  available on a computer network accessible to members of the public.” 17 U.S.C. §

  506(a)(1)(C); see also id. §§ 101 & 106(3) (defining “right of exclusive publication” to include

  the “offering to distribute copies”). It is also the view of definitive treatises. “The distribution

  right . . . extends to the offer to the general public to make a work available for distribution . . . .

  No consummated act of actual distribution need be demonstrated . . . .” Nimmer on Copyright

  § 8.11 [B][4][d] (2015); see generally id. § 8.11 [A], [B] (term “distribute” was intended to

  broaden publication rights, which historically “encompassed the offering of copyrighted works to

  the public,” and to account for possible future encroachment on the rights of copyright holders

  by technical changes). “Thus, to prove violation of copyright’s distribution right, a copyright

  owner need merely show that a copyrighted work has been placed in a share folder that is

  accessible to the public.” Peter S. Menell, In Search of Copyright’s Lost Ark: Interpreting the

  Right to Distribute in the Internet Age, 59 Copyright Society USA 1, 67 (2011).



          7
           Cox’s attempt to distinguish Hotaling, Cox Br. at 14, confirms its application here.
  Like the defendant in Hotaling, Cox has not used the tools at its disposal, such as
            , to record actual transmissions of infringing works by its subscribers over its network.




                                                   - 12 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 19 of 38 PageID# 10868



         Interpreting the Copyright Act to prohibit “making available” copyrighted works without

  authorization is also essential to comport with the nation’s obligations under the WIPO

  Copyright Treaty, which requires member states to recognize the rights of making available. See

  Restatement (Third) of Foreign Relations § 114 (1987) (“Where fairly possible a United States

  statute is to be construed so as not to conflict with . . . an international agreement of the United

  States.”). Indeed, Congress considered amending the Copyright Act on this point but concluded

  that it was unnecessary because “making available” is recognized under current law. As the

  Register of Copyrights noted in a letter to Congress, “making [a work] available for other users

  of [a] peer to peer network to download . . . constitutes an infringement of the exclusive

  distribution right, as well as the production right.” Allan Decl. Ex. 50. Thus, “Congress

  determined that it was not necessary to add any additional rights to Section 106 . . . to implement

  the [Treaty’s] ‘making available’ right.” Id.

         C.      Cox Subscribers Infringed Plaintiffs Copyrights by Actually Disseminating
                 the Asserted Works

         In any event, the evidence shows that significant uploads and downloads of Plaintiffs

  copyrighted works actually have occurred over Cox’s network. First, Plaintiffs’ agent

  Rightscorp has detected multiple Cox subscribers with the same infringing torrent available on

  their computers after it located that same torrent on torrent indexing websites such as the Pirate

  Bay. Because each torrent is unique, with a unique identifying hash code, those Cox subscribers

  must themselves have downloaded the torrents at issue. SAF 11.

         Second, Rightscorp has actually downloaded over seven hundred thousand full copies of

  copyrighted works from Cox subscribers using Cox’s systems, including over 100,000 full

  copies of the works at issue in this case. SAF 10. “Courts have consistently relied upon

  evidence of downloads by a plaintiff’s investigator to establish both unauthorized copying and



                                                  - 13 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 20 of 38 PageID# 10869



  distribution of a plaintiff’s work.” Arista Records v. Lime Group, No. 06 CV 5936, 2011 WL

  1641978, at *8 (S.D.N.Y. Apr. 29, 2011) (citations omitted).

         Third, a factfinder can infer that the works at issue were actually shared from the

  evidence that they were made available. Even, the few P2P cases Cox cites in support of its

  “making available” argument permit the inference that dissemination actually took place. See,

  e.g., London-Sire Records v. Doe I, 542 F. Supp. 2d 153, 169 (D. Mass. 2008) (“where the

  defendant has completed all the necessary steps for a public distribution, a reasonable fact finder

  may infer that the distribution actually took place); accord Atlantic Recording Corp. v. Howell,

  554 F. Supp. 2d 976, 983-984 (D. Ariz. 2008) (“[E]vidence [of] ma[king] . . . available”

  “support[s] an inference that the copy was likely transferred to a member of the public”).

         Here, Plaintiffs have established that Cox’s subscribers have been connected to P2P

  networks using BitTorrent in such a way as to allow the public to make copies of their

  copyrighted works. SAF 8-9. In fact, Plaintiffs’ expert has detected Cox subscribers uploading

  and downloading portions of works to and from her computer during her testing of the

  Rightscorp software. BFC Decl. ¶ 4 & Ex. 4-5. Over sixteen percent of Cox subscribers

  download free music using BitTorrent from sites like the Pirate Bay, and studies have found that

  nearly all music files shared on BitTorrent are infringing. SAF 1, 12. A reasonable jury could

  conclude that distribution actually took place. See Fung, 710 F.3d at 1034 (finding direct

  infringement where statistical sampling showed high percentage of infringing content).

         D.      The Copyright Act Protects Digital Material Objects as Well as Physical
                 Material Objects

         Finally, Cox argues that there is no evidence of copying by its subscribers because they

  are not distributing physical objects like phonorecords or CDs. But a copyright owner’s

  exclusive distribution rights extend to all copies of its works, not just those fixed in physical



                                                  - 14 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 21 of 38 PageID# 10870



  objects. Cox truncates the definition of “copies,” which include anything “fixed by any method

  now known or later developed, and from which the work can be perceived, reproduced, or

  otherwise communicated, either directly or with the aid of a machine or device.” 17 U.S.C.

  § 101. That includes the digital files Cox’s subscribers make available to the world.

         Cox cites no case supporting its position that “copies” do not include digital copies, and

  there is no such case. See Nimmer on Copyright § 8.11 D4[a][i] (“no court has held to the

  contrary on this issue”). By contrast, hundreds of cases – many cited in this brief – have found

  that distribution of digital copies without permission constitutes infringement.

  II.    COX IS LIABLE AS A CONTRIBUTORY COPYRIGHT INFRINGER

         A.      Knowledge of and Material Contribution to Copyright Infringement Makes
                 a Defendant Liable for that Infringement

         “[U]nder a contributory infringement theory, ‘one who, with knowledge of the infringing

  activity, induces, causes or materially contributes to the infringing conduct of another’ is also

  liable for the infringement.” Humphreys & Partners Architects v. Lessard Design, 43 F. Supp.

  3d 644, 663 (E.D. Va. 2014) (quoting CoStar Group v. LoopNet, 373 F.3d 544, 550 (4th Cir.

  2004)). This doctrine, requiring knowledge of and material contribution to infringement,

  originated in Gershwin Publishing v. Columbia Artists Management, 443 F.2d 1159, 1162 (2d

  Cir. 1971), and has become the controlling test for contributory infringement.

         Cox argues that the Supreme Court’s decision in MGM v. Grokster, 545 U.S. 913 (2005),

  supplanted the traditional Gershwin Publishing test for contributory infringement with a rule that

  requires not just contribution to but intentional inducement of infringement. See Cox Br. at 15-

  16. But Cox is unable to cite a single case adopting this reading of Grokster, under which it

  would have silently overruled forty years of contributory infringement case law. Subsequent

  decisions have concluded either that Grokster elaborates on one prong of contributory



                                                 - 15 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 22 of 38 PageID# 10871



  infringement doctrine – inducement – or creates a new strain of secondary liability for induced

  infringement. See 3 Nimmer on Copyright § 12.04(A)(4)(b), (5)(a). Thus, post-Grokster cases

  uniformly continue to impose contributory infringement liability where a defendant knows of

  and materially contributes to infringement. See id.

         This is consistent with Grokster itself, which does not purport to supplant existing law

  and never suggests that inducement is the sole ground for contributory infringement. See 545

  U.S. at 934-35 (noting that prior doctrine “was never meant to foreclose rules of fault-based

  liability derived from the common law” (emphasis added)). Instead, Grokster endorses

  Gershwin Publishing and its “doctrines of secondary liability” as “well established in the law”

  and frames the inducement holding as an application of the Gershwin doctrine. Id. at 930-31.

         This is confirmed by the Grokster concurrences, in which six Justices applied the non-

  inducement strands of contributory liability (though they split three-three on their application to

  the Grokster software). See id. at 942-49 (Ginsburg, J., concurring); id. at 949-66 (Breyer, J.,

  concurring).8 While the unanimous majority opinion addressed only inducement, at least six

  members of the Court did not agree that inducement supplants pre-existing theories of

  contributory infringement.

         Cox cites Perfect 10 v. Amazon, 508 F.3d 1146, 1171 (9th Cir. 2007). But that decision

  makes clear that the traditional “tests for contributory liability are consistent with the rule set



         8
            The six concurring Justices disagreed as to whether the software had a substantial non-
  infringing use. Lack of a substantial non-infringing use allows a court to impute knowledge of
  infringement where a defendant releases its product into the stream of commerce and thus loses
  control over downstream use. See A&M Records v. Napster, 239 F.3d 1004, 1020 (9th Cir.
  2001); Aimster, 334 F.3d at 648; Arista Records v. Usenet.com, 633 F. Supp. 2d 124, 156
  (S.D.N.Y. 2009); Costar Group v. Loopnet, 164 F. Supp. 2d 688, 697 (D. Md. 2001). That issue
  is not relevant to this litigation, where Cox has actual and constructive knowledge of copyright
  infringement on a service that it provides to subscribers on an ongoing basis. See id.



                                                   - 16 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 23 of 38 PageID# 10872



  forth in Grokster” and reaffirms the “general rule” that “‘one who, with knowledge of the

  infringing activity, induces, causes or materially contributes to the infringing conduct of another,

  may be held liable as a ‘contributory’ infringer.’” Id. (quoting Gershwin Publishing, 443 F.2d at

  1162). Thus, a service provider may “be held contributorily liable if it had knowledge that

  infringing [] images were available using its search engine, could take simple measures to

  prevent further damage to [the] copyrighted works, and failed to take such steps.” Id. at 1172.

         B.      Cox Knew of and Was Willfully Blind to its Subscribers’ Infringement of
                 Plaintiffs’ Copyrights

                 1.      Cox Knew or Had Reason to Know of the Infringement

         The law deems a defendant to have knowledge of infringement on its systems where it

  knows or has reason to know of the infringing activity. See Ellison v. Robertson, 357 F.3d 1072,

  1077 (9th Cir. 2004). “The most powerful evidence of a service provider’s knowledge” is an

  “actual notice of infringement from the copyright holder.” Corbis Corp. v. Amazon, 351 F.

  Supp. 2d 1090 (W.D. Wash. 2004).

         Here, Plaintiffs sent Cox millions of notices of infringement of the works at issue in this

  litigation. Each of those notices was a signed statement that, under penalty of perjury, identified

  a copyrighted work being infringed, the date and time of the infringement, and the Cox IP

  address at which the infringement was occurring. It also gave Cox access to a comprehensive,

  searchable, sortable dashboard containing full infringement information for each infringing Cox

  IP address. SAF 15-16.9 That more than suffices to give Cox knowledge or reason to know of

  infringement. See Perfect 10 v. Cybernet Ventures, 213 F. Supp. 2d 1146, 1168-69 (C.D. Cal.


         9
           Cox did not act even when Rightscorp followed up by email to high-level Cox
  personnel apprising them of specific IP addresses responsible for hundreds of infringements
  within a three week period. See Allan Decl. Ex. 14; see also Ex. 61.




                                                 - 17 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 24 of 38 PageID# 10873



  2002) (emails notifying the defendant of copyright infringement on its system established actual

  knowledge of infringement); Capitol Records v Escape Media Group, 2015 WL 1402049, at *43

  (S.D.N.Y. Mar. 25, 2015) (“[T]he evidence demonstrates that Escape had knowledge of the

  infringing activity” based on “DMCA takedown notices of infringement it received.”).

         Nor can Cox avoid knowledge by blacklisting, deleting, or refusing to accept Plaintiffs’

  copyright infringement notices, as it has done since March of 2011. SAF 17. On the contrary,

  the failure to accept notices of infringement prevents Cox from obtaining summary judgment on

  the basis of its purported lack of knowledge. See Ellison, 357 F.3d at 1077 (changing email

  address so as not to receive notices of infringement allows “a reasonable trier of fact” to “find

  that AOL had reason to know of potentially infringing activity”).

         Cox does not dispute that notices may satisfy the contributory infringement knowledge

  requirement. Instead, it complains that Plaintiffs’ infringement notices identified the works as

  recordings by reference to recording artists rather than as musical compositions by reference to

  songwriters. Cox Br. at 19. Here, the infringing files are sound recordings that embody the

  underlying musical compositions in which Plaintiffs own the copyrights. Plaintiffs’ infringement

  notices identify the infringing files, claim “copyrights in [the] musical compositions,” and

  identify the title of the infringed work. SAF 15. Cox’s counsel admitted that they were

                                  . Allan Decl. Ex. 2 (Cadenhead Tr.) at 195:9-196:16.

         Cox next argues that the infringement notices could not have given Cox actual

  knowledge of infringement because, it claims, Plaintiffs admitted that they themselves did not

  have actual knowledge of infringement on the Cox network at the time they sent the notices.

  Cox Br. at 18. But Plaintiffs and Rightscorp admitted no such thing. In the cited testimony,

  Plaintiffs’ fact witnesses merely admitted that they personally did not know who at Cox was




                                                 - 18 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 25 of 38 PageID# 10874



  aware of the infringement. That cannot preclude Plaintiffs from proving Cox’s knowledge.

  Moreover, BMG’s witness repeatedly testified that the notices were a basis on which Cox would

  have known of the infringement. See Allan Decl. Ex. 4 at 72:11-79:21.

         Cox also reprises its direct infringement arguments – that the Rightscorp data shows

  instances where the infringed works were made available, not actual transmissions of those

  works, and that the infringement notices are “mere allegations of infringement,” with no Cox

  subscribers “adjudged an infringer of any asserted work.” Cox Br. at 18, 19. As discussed

  above, not only does “making available” itself infringe copyright, but Cox subscribers did

  transmit infringing files. See above at 11-14. And Plaintiffs in secondary liability cases are not

  required to obtain judgments against individual infringers. “Recognizing the impracticability or

  futility of a copyright owner’s suing a multitude of individual infringers, . . . the law allows a

  copyright holder to sue a contributor to the infringement instead.” Aimster, 334 F.3d at 645.

         In any event, Cox’s employees repeatedly acknowledged that they were aware of

  widespread infringement on Cox’s systems. Plaintiffs’ SJ Mem. at 12, 14, 16, 29-30. Internal

  emails with Cox’s abuse team describe infringing subscribers with terms like

                                                                                       and “

                      Decl. Exs. 24, 28, 40, 56. They also describe conversations in which

  subscribers admitted to infringing copyright. Allan Decl. Exs. 28, 56. That alone would satisfy

  the knowledge requirement. See Usenet.com, 633 F. Supp. 2d at 155 (knowledge requirement

  met where users told defendant employees that they were engaged in copyright infringement);

  Capitol Records v. MP3tunes, No. 07 Civ. 9931, 2013 WL 1987225, at *4 (S.D.N.Y. May 14,

  2013) (internal communications acknowledging likely infringement is evidence of knowledge).




                                                  - 19 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 26 of 38 PageID# 10875



                 2.      Cox Was Willfully Blind to the Infringement of Plaintiffs’ Works

         Not only did Cox fail to terminate those subscribers it knew to be infringers, see Pl. MSJ

  Br., Cox actively sought to avoid further knowledge of infringement of works owned by

  Plaintiffs and other copyright owners. This “willful blindness is knowledge, in copyright law . . .

  as it is in the law generally.” Aimster, 334 F.3d at 650; see also Viacom International v.

  YouTube, 676 F.3d 19, 35 (2d Cir. 2012) (“willful blindness doctrine may be applied . . . to

  demonstrate knowledge or awareness of specific instances of infringement”); Global-Tech

  Appliances v. SEB, 563 U.S. 754 (2011) (applying willful blindness doctrine in the induced

  patent infringement context); Seoul Broadcasting System International v. Ro, No. 1:09CV433,

  2011 WL 3207024, at *9 (E.D. Va. 2011) (defendants “are liable for contributory copyright

  infringement” where they were “at the very least . . . willfully blind”).

         The manager of Cox’s abuse group, which was responsible for responding to complaints

  of copyright infringement, put it explicitly in an email to his team. After an abuse employee

  circulated an email regarding




  The abuse manager responded,

                   Allan Decl. Ex. 41 (ellipsis in original).

         Cox knew that many of its users were infringing copyright but sought to avoid specific

  knowledge as much as possible in order to avoid the obligation to terminate subscribers under



                                                  - 20 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 27 of 38 PageID# 10876



  the DMCA. Jason Zabek, the manager of Cox’s abuse group, acknowledged that



                                                               Allan Decl. Ex. 10. Cox thus sought

  to avoid receiving and acting upon notices of copyright infringement. Zabek testified that, as a

  result of a

                                                           Allan Decl. Ex. 1 at 106:11-107:2.

          As to the works at issue, Cox blacklisted or blocked every single notice of copyright

  infringement sent by Rightscorp on behalf of Plaintiffs, in an attempt to avoid specific

  knowledge of any infringement. SAF 17-20. Yet, Cox denies any improper motive and

  contends that the blacklisting was justified because the Rightscorp notices, which asked

  infringers to pay $20 for the works they had taken, were “extortionate.” Cox Br. at 21. This

  “extortion” defense is a red herring. Not only is there nothing wrong with asking infringers to

  pay a reasonable sum for the music they download and distribute, but the question at hand is

  notice to Cox, not whether it was appropriate for Cox to forward the settlement demands on to its

  customers. Cox could have stripped any language from the notices before forwarding them on or

  otherwise provided its own notice to its customers.

          In fact, Cox’s blacklisting of Rightscorp notices was not an effort to protect its customers

  but one element of a larger scheme to avoid receiving and acting upon notice of copyright

  infringement. Even if Rightscorp had revised its notices to eliminate the settlement demands,

  Cox would have accepted only                             And it would have accepted

         per subscriber                                   SAF 19-20. The evidence shows that

  Cox’s refusal to accept notices containing settlement demands was only one of an array pretexts

  by which it sought                                                               SAF 17-21.




                                                 - 21 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 28 of 38 PageID# 10877



         C.      Cox Materially Contributed to Its Subscribers’ Infringement of Plaintiffs’
                 Copyrights

         Though it denies knowledge of the infringement, Cox does not dispute that it materially

  contributed to copyright infringement by its subscribers. Cox Br. at 21. Cox’s network

  constitutes the site of and facilities by which its subscribers access and share infringing content –

  a material contribution to copyright infringement. See Ellison, 357 F.3d at 1078 (internet service

  provider AOL materially contributed to infringement by providing the means of access to Usenet

  groups through which its subscribers share infringing content); Amazon, 508 F.3d at 1172

  (material contribution where the defendant “assists a worldwide audience of users to access

  infringing materials”); Capitol Records v. MP3Tunes, 48 F. Supp. 3d 703, 713 (S.D.N.Y. 2014)

  (“site and facilities for the infringing activity”); Napster, 239 F.3d at 1022 (same). Indeed, Cox

  not only provided the facilities by which its subscribers transmitted infringing content using

  BitTorrent but affirmatively              subscribers who had been “terminated” for copyright

  infringement and gave them a                 so that they could continue to infringe. SAF 28.

  III.   COX IS VICARIOUSLY LIABLE FOR ITS SUBSCRIBERS’ INFRINGEMENT
         OF PLAINTIFFS’ COPYRIGHTS

         A defendant may be vicariously liable where it “possessed the right and ability to

  supervise the infringing activity” and had an “obvious and direct financial interest” in the

  infringement. Nelson-Salabes v. Morningside Development, 284 F.3d 505, 513 (4th Cir. 2002).

  While the doctrine of vicarious liability had its origins in the agency relationship and respondeat

  superior, see Cox Br. at 20-22, the doctrine has expanded to cover any circumstance involving

  the necessary combination of supervision and financial interest. “In the context of copyright law,

  vicarious liability extends beyond an employer/employee relationship to cases in which a

  defendant has the right and ability to supervise the infringing activity and also has a direct

  financial interest in such activities.” Napster, 239 F.3d at 1022 (citation omitted).


                                                  - 22 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 29 of 38 PageID# 10878



         A.      Cox Has the Ability to Supervise the Infringing Activity

         Cox satisfies the first prong of the test for vicarious liability because it has the legal right

  and ability to terminate subscribers for copyright infringement. Cox’s high speed internet

  acceptable use policy gives it the right to terminate customers who infringe copyright, thereby

  depriving them of access to the network through which they infringe. SAF 22.

         The right and ability to block access to the physical or electronic environment in which

  the infringement is occurring satisfies the supervision requirement. See Napster, 239 F.3d at

  1023 (“The ability to block infringers’ access to a particular environment for any reason

  whatsoever is evidence of the right and ability to supervise.”); Fonovisa v. Cherry Auction, 76

  F.3d 259, 262 (9th Cir. 1996) (swap meet owner deemed to “ha[ve] the ability to control the

  activities of vendors” for vicarious liability purposes where it “had the right to terminate

  vendors”). Thus, in the internet context, courts consistently have found that a service provider

  has the “right and ability to limit the use of its product for infringing purposes” by “denying

  access,” Lime Group, 784 F. Supp. 2d at 435, where it has the contractual right to “terminate

  accounts” and “revoke [access] privileges,” Escape Media Group, 2015 WL 1402049, at *42, or

  where it has the right “to terminate, suspend or restrict users’ subscriptions thereby limiting their

  access to uploading or downloading.” Usenet, 633 F. Supp. 2d at 157.

         Citing Amazon, 508 F.3d at 1173-74, Cox argues that the ability to terminate does not

  suffice. But that case holds just the opposite. In Amazon, the plaintiff could not show that

  Google’s contracts with the infringing third-party websites empowered it to stop or limit their

  infringement. Id. While Google could control its own search results and its AdSense program, it

  could not control the conduct of third-party websites. Id. The decision expressly distinguished

  circumstances, such as those in Napster or Fonovisa, where customers were using the




                                                  - 23 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 30 of 38 PageID# 10879



  defendant’s services to infringe so that, through termination, the defendant had a contractual

  “right to stop the vendors from selling counterfeit recordings on its premises” or “the right and

  ability to prevent . . . users from engaging in the infringing activity of . . . downloading Napster

  users’ music files through the Napster system.” Id. Here, too, Cox’s power to terminate gives it

  the ability to prevent its subscribers from using its system of cables to infringe copyright.

         Cox also cites Perfect 10 v. Visa International Service Association, 494 F.3d 788, 805

  (9th Cir. 2007), for the proposition that the power to terminate is not sufficient for vicarious

  liability or, at least, that a plaintiff “must show more than a vendor-customer relationship.” Cox

  Br. at 23, 25. But Visa is inapposite. There, the plaintiffs sued vendors that processed credit

  card payments to websites accused of infringement, an ancillary service that did not give the

  defendant the ability to block infringers’ access to the websites on which infringement occurred.

  See Visa, 494 F.3d at 803-04. That is very different from a defendant who is the locus of

  infringing activity, such as the landlord of a swap meet, the owner of a dance hall, or a high

  speed internet provider which controls access to its facilities by infringing subscribers. The

  distinction was essential to the holding in Visa. See 494 F.3d at 805 (“The swap meet operator in

  Fonovisa and the software operator in Napster both had the right to remove individual infringers

  from the very place the infringement was happening. Defendant[] [credit card processors] have

  no such right.”). Here, unlike in Visa, Cox can use its termination power to halt its subscribers’

  infringement by removing their access to the network where infringement occurs.

         Cox also argues that vicarious liability is improper because it does not spy on its

  customers and does not monitor their internet usage. Cox Br. at 24. But vicarious liability does

  not require knowledge of infringement – “lack of knowledge that the primary actor is actually




                                                  - 24 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 31 of 38 PageID# 10880



  engaged in infringing activity is not a defense.” EMI April Music v. White, 618 F. Supp. 2d 497,

  507 (E.D. Va. 2009). Rather, supervision requires only the right and ability to terminate.

         Finally, Cox argues that it cannot be vicariously liable because it does not have a

  principal-agent relationship with its infringing subscribers. Cox Br. at 24. But a principal-agent

  relationship is not required for vicarious liability. While the doctrine had its origins in such

  relationship, vicarious liability is regularly imposed in contexts involving subscribers to internet-

  related services, as the cases cited in this section reflect. “Under the common law vicarious

  liability standard, the ability to block infringers’ access to a particular environment for any

  reason whatsoever is evidence of the right and ability to supervise.” Viacom International v.

  YouTube, 676 F.3d 19, 37 (2d Cir. 2012). Here, Cox has the ability to block its infringing

  subscribers’ access to its network, which is the mechanism by which they infringe.

         B.      Cox Directly Benefited from its Subscribers’ Use of BitTorrent to Infringe

         A vicarious infringer directly benefits from infringement where “the availability of

  infringing material acts as a ‘draw’ for customers.” Napster, 239 F.3d at 1023. For example,

  financial benefit arises “where infringing performances enhance the attractiveness of the venue.”

  Fonovisa, 76 F.3d at 263-64. “There is no requirement that the draw be ‘substantial.’” Ellison,

  357 F.3d at 1079. And “the ‘draw’ of infringement need not be the primary, or even a

  significant, draw – rather, it need only be ‘a’ draw.” Escape Media, 2015 WL 1402049, at *42

  (quoting Usenet.com, 633 F. Supp. 2d at 157) (quotation marks omitted).

         Here, ample evidence establishes that that the availability of infringing content via

  BitTorrent drew subscribers to Cox’s services. Plaintiffs’ expert Stephen Nowlis conducted a

  survey of Cox internet subscribers. He found that sixteen percent, “download or upload free

  digital music through [BitTorrent] sites such as ThePirateBay, KissAssTorrents, Torrentz, etc.”




                                                  - 25 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 32 of 38 PageID# 10881



  Nowlis Decl. Ex. 2 at 4 n.2; SAF 12. Of those sixteen percent who used Cox internet service to

  share digital music for free, seventy percent characterized the ability to do so as a reason that

  they subscribed to Cox. Id. at 12. In sum, over ten percent of Cox subscribers admitted that the

  free sharing of digital music using BitTorrent was a reason that they subscribed to Cox.10

         Cox’s subscribers describe Cox’s permissive attitude toward copyright infringement as a

  reason to subscribe to Cox in online fora. One Reddit commenter recommended Cox over

  Verizon because it “seems to have a . . . surprisingly lax attitude to downloading/Bittorrent.

  FIOS doesn’t.” Allan Decl. Ex. 63 at 4. Another commented, “I love their copyright policy

  because pirating is my way of shoplifting and they protect me like a Godfather. All hail Cox.”

  Ex. 62; see also Ex. 64 at 1-2 (appreciating Cox’s willingness to accept “simple old man ruse” of

  blaming infringement on an unsecured wireless network); see also Ex. 66 at 1 (noting that Cox

  “do[es]n’t act on” DMCA notices).

         Cox itself regarded rapid torrent downloads as a way to provide value to subscribers. For

  example, one internal Cox document describes a subscriber twitter comment that

                                                                                    as

                                                                         Allan Decl. Ex. 60 at 1-2.

         The monthly fees Cox charges these infringing subscribers is a direct financial benefit

  Cox obtains from infringement. Cox is similar to the defendants in swap meet or flea market

  cases, who reaped admission fees from buyers of infringing works and rental fees from the

  vendors selling them. See Fonovisa, 76 F.3d at 263 (“[T]he defendants reap substantial financial

  benefits from admission fees, concession stand sales and parking fees, all of which flow directly


         10
            Cox objects that the survey did not refer specifically to infringement. Cox Br. at 26.
  But the torrent sites identified are used almost exclusively for copyright infringement. SAF 1.




                                                  - 26 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 33 of 38 PageID# 10882



  from customers who want to buy the counterfeit recordings at bargain basement prices.”).

  Because Cox’s costs to maintain is network are largely fixed, it earns extremely high profit

  margins from every additional customer:

                                                   . Allan Decl. Ex. 43. The more customers Cox

  attracts, the more money it will earn.

         Cox benefits from BitTorrent file sharing not only by attracting customers but by

  upselling heavy bandwidth and data users to more expensive packages of internet service. Cox

  limits the bandwidth and caps the amount of data that its subscribers may consume, with higher

  bandwidths and data allowances available as part of more expensive service packages. Allan

  Decl. Ex. 58. Cox encourages high bandwidth users,

                                                  See Allan Decl. Exs. 37 at 558; 39 at 711, 44.

         In fact, Cox calibrated its DMCA termination policy so that it would retain the profitable

  copyright infringers while terminating unprofitable ones. As senior lead abuse engineer Joseph

  Sikes explained,




                              Allan Decl. Ex. 9; see also Allan Decl. Ex. 8

                                                                         ).

         Even apart from the draw of new customers, Cox’s financial incentive not to terminate

  infringing users satisfies the direct benefit prong of vicarious liability. See Escape Media, 2015

  WL 1402049, at *42 (“[E]vidence of financial gain is not necessary to prove vicarious liability as

  long as the service provider has an economic incentive to tolerate infringing conduct.”). Cox

  repeatedly refused to terminate – or even reactivated – known, repeat infringers in order to




                                                 - 27 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 34 of 38 PageID# 10883



  preserve the revenue associated with their accounts.



                                                    Allan Decl. Ex. 40. Refusing to terminate

  another customer who had received at least               infringement notices, the abuse manager

  instructed,

                     Allan Decl. Ex. 20. Cox’s senior lead abuse engineer summed it up:

                                                   Allan Decl. Ex. 8. Cox tolerates infringing

  subscribers because more customers means more revenue. That makes Cox vicariously liable for

  their infringement. See Escape Media, 2015 WL 1402049, at *42.

         Cox argues that it cannot have a direct financial interest in infringement because its

  monthly subscriber fees are flat and do not depend on any particular use of its network, including

  infringement. But vicarious liability cases have expressly rejected the argument that the

  financial benefit must be tied to specific acts of infringement. In the flea market cases, courts

  have held that the defendants’ financial benefit need not be “directly tied to the sale of particular

  infringing items.” Fonvisa, 76 F.3d at 263; see also Lime Group, 784 F. Supp. 2d at 435 (“The

  financial benefit need not be tied directly to sales of the infringing goods.”). Instead, flat

  admission fees charged to all entrants were sufficient because they also “flow[ed] directly from

  customers who want to buy the counterfeit recordings at bargain basement prices.” Fonovisa, 76

  F.3d at 263. The same is true of the fees Cox charges to access its network, many of which are

  paid by subscribers who purchase Cox’s services to download infringing files.

  IV.    PLAINTIFFS DO NOT HAVE UNCLEAN HANDS AND DID NOT FAIL TO
         MITIGATE THEIR DAMAGES

         Cox asserts that Plaintiffs have unclean hands but has failed present evidence that (1)

  “plaintiff’s conduct was in fact inequitable;” (2) “plaintiff’s conduct directly related to the claim



                                                  - 28 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 35 of 38 PageID# 10884



  which it has asserted against the defendant;” and (3) “plaintiff’s conduct injured the defendant.”

  JTH Tax v. H&R Block Eastern Tax Services, 128 F. Supp. 2d 926, 949 (E.D. Va. 2001)

  (citations omitted). Unclean hands requires “a close nexus between a party’s unethical conduct

  and the transactions on which that party seeks relief.” WorldCom v. Boyne, 68 Fed. App’x 447,

  451 (4th Cir. 2003) (quoting In re Uwimana, 274 F.3d 806, 810 (4th Cir. 2001)).

         Cox objects to Rightscorp’s alleged negotiating tactics but does not cite any authority to

  suggest that asking infringers to pay $20 for the music they illegally download and distribute or

  asking Cox to terminate infringers consistent with its AUP and the DMCA might give rise to a

  defense of unclean hands. Cox cites Tempo Music v. Myers, 407 F.2d 503 (4th Cir 1969), in

  which the plaintiff’s agent refused to work with the defendant when it actively sought the

  information necessary to avoid infringement. Here, it was Rightscorp that repeatedly sought to

  work with Cox but was rejected. As Cox’s abuse manager Jason Zabek explained,

                                                            Allan Decl. Ex. 18.

         Moreover, Rightscorp’s alleged negotiating tactics did not injure Cox and have nothing to

  do with the infringements at issue in this case. See JTH Tax, 128 F. Supp. 2d at 949. Rightscorp

  did not and could not communicate with any infringing Cox subscribers because Cox never

  forwarded Rightscorp’s notices. Thus, there is no “close nexus” between the “unethical conduct

  and the transactions on which [Plaintiffs] seeks relief.” WorldCom, 68 Fed. App’x at 451.

         Cox also accuses Rightscorp of itself infringing copyrights when it downloaded sound

  recordings from Cox subscribers in the process of gathering evidence of infringement. But

  downloading works to detect copyright infringement is not inequitable; it is an accepted means

  of collecting and preserving evidence of unauthorized copying. See Lime Group, 2011 WL

  1641978, at *7-8. Nor does Cox, which lacks any interest in the sound recordings, have standing




                                                 - 29 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 36 of 38 PageID# 10885



  to complain of such infringement. See Positive Black Talk v. Cash Money Records, 394 F.3d

  357, 378-79 (5th Cir. 2004). There is no suggestion that any of the owners of the copyrights in

  the sound recordings have any objection to Rightscorp’s collecting evidence of infringement.11

         Cox also fails to cite a single case supporting its argument that the Court may grant

  summary judgment based on the alleged failure to mitigate damages. Cox’s cases simply

  acknowledge that such a defense may be relevant to the calculation of damages. Failure to

  mitigate is an affirmative defense that may reduce the amount of damages a defendant must pay,

  not a full defense to liability. See SNC-Lavalin America v. Alliant Techsystems, 858 F. Supp. 2d

  620, 633 (W.D. Va. 2012). And here, Plaintiffs seek statutory rather than actual damages.

         Nor has Cox shown any failure to mitigate. Rightscorp was entitled to seek settlements

  with Cox’s infringing subscribers, and Cox was required to act when it received notice of

  infringement regardless of the extraneous material the notices may have contained. Moreover,

  the evidence shows that, even if Rightscorp had removed settlement language from its notices,

  Cox would not have addressed the rampant infringement at issue in this litigation by terminating

  infringing subscribers. SAF 19-20, 24-28; Plaintiffs’ SJ Mem. at 1-30. Sending takedown

  notices to websites that host *.torrent files would have been similarly futile. Many of these

  websites operate abroad and flaunt their disdain for claims of copyright infringement. There is

  no evidence that such a course would have mitigated Plaintiffs’ damages. SAF 5 n.1.

                                           CONCLUSION

         For the foregoing reasons, Cox’s motion for summary judgment should be denied.




         11
            Contrary to Cox’s suggestion, Br. at 29, whether Rightscorp’s preservation of evidence
  of infringement is fair use has nothing to do with whether Cox’s infringing subscribers were
  engaged in fair use when they downloaded copies of infringed works for their own consumption.



                                                - 30 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 37 of 38 PageID# 10886



                                     Respectfully submitted,

                                     /s/ Jeremy D. Engle
                                     Jeremy D. Engle (VSB No. 72919)
                                     jengle@steptoe.com
                                     Paul Gennari (VSB No. 46890)
                                     pgennari@steptoe.com
                                     STEPTOE & JOHNSON, LLP
                                     1330 Connecticut Ave, NW
                                     Washington, DC 20036
                                     Tel.: (202) 429-3000
                                     Fax: (202) 429-3902

                                     Walter D. Kelley, Jr. (VSB No. 21622)
                                     HAUSFELD, LLP
                                     1700 K Street, NW
                                     Washington, DC 20006
                                     Tel: (202) 540-7157
                                     Fax: (202) 540-7201


                                     Of Counsel
                                     Michael J. Allan (admitted pro hac vice)
                                     William G. Pecau (admitted pro hac vice)
                                     John M. Caracappa (admitted pro hac vice)
                                     Roger E. Warin (admitted pro hac vice)
                                     Jeffrey M. Theodore (admitted pro hac vice)
                                     Stephanie L. Roberts (admitted pro hac vice)
                                     STEPTOE & JOHNSON, LLP
                                     1330 Connecticut Avenue, NW
                                     Washington, DC 20036
                                     Tel.: (202) 429-3000
                                     Fax: (202) 429-3902

                                     Michael O. Crain
                                     Crain Law Group, LLC
                                     The Bottleworks
                                     297 Prince Avenue, Suite 24
                                     Athens, Georgia 30601
                                     Tel. (706) 548-0970
                                     Fax: (706) 369-8869

                                     Counsel for Plaintiffs




                                      - 31 -
Case 1:14-cv-01611-LO-JFA Document 386 Filed 10/13/15 Page 38 of 38 PageID# 10887



                                   CERTIFICATE OF SERVICE

          I hereby certify that on October 13, 2015, I electronically filed a true and correct copy of
  the foregoing using the Court’s CM/ECF system, which then sent a notification of such filing
  (NEF) to all counsel of record:

  Craig C. Reilly (VSB No. 20942)
  craig.reilly@ccreillylaw.com

                                                          /s/ Jeremy Engle
                                                          Jeremy D. Engle (VSB No. 72919)
                                                          jengle@steptoe.com
                                                          STEPTOE & JOHNSON, LLP
                                                          1330 Connecticut Ave, NW
                                                          Washington, DC 20036
                                                          Tel.: (202) 429-3000
                                                          Fax: (202) 429-3902




                                                 - 32 -
